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                               TAB 5
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                  Michael Zimmerman 30(b) (6), Confidential
                                   June 24, 2021

   NO. X06-UWY-CV-18-6046436S                  SUPERIOR COURT

   ERICA LAFFERTY, ET AL,                      COMPLEX LITIGATION DOCKET

   vs.                                         AT WATERBURY

   ALEX EMRIC JONES, ET AL,                    JUNE 24, 2021



   NO. X- 06- UWY - CVlS-6046437-S             SUPERIOR COURT

   WILLIAM SHERLACH,                           COMPLEX LITIGATION DOCKET

   vs.                                         AT WATERBURY

   ALEX EMRIC JONES, ET AL.                    JUNE 24, 2021



   NO. X06-UWY-CV-18-6046438S                  SUPERIOR COURT

   WILLIAM SHERLACH, ET AL.,                   COMPLEX LITIGATION DOCKET

   vs.                                         AT WATERBURY

   ALEX EMRIC JONES, ET AL.                    JUNE 24, 2021



                                    CONFIDENTIAL

                        ORAL AND VIDEOTAPED DEPOSITION OF
                            FREE SPEECH SYSTEMS, LLC
                                      BY
                               MICHAEL ZIMMERMANN
                                  JUNE 24, 2021




            ORAL AND VIDEOTAPED DEPOSITION OF MICHAEL ZIMMERMANN,

      produced as a witness at the instance of the PLAINTIFF, and

      duly sworn, was taken in the above-styled and -numbered cause

      on JUNE 24, 2021, from 9:00 a.m. to 4:10 p.m., before


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                                    June 24, 2021

 1   Rosalind Dennis, Notary in and for the State of Texas, reported

 2   by machine shorthand, appearing remotely from Dallas, Texas,

 3   pursuant to the Federal Rules of Civil Procedure and the

 4   provisions stated on the record or attached hereto.

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                                    June 24, 2021

 1                              A P P E A R A N C E S

 2

 3   FOR THE PLAINTIFFS:

 4         CHRISTOPHER M. MATTEI, ESQ.
           MATTHEWS. BLUMENTHAL, ESQ.
 5         KOSKOFF KOSKOFF & BIEDER, PC
           350 Fairfield Avenue, Suite 501
 6         Bridgeport, Connecticut 06604
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 7         mblumenthal@koskoff.com
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 8

 9   FOR THE DEFENDANTS:

10         JAY MARSHALL WOLMAN, ESQ.
           RANDAZZA LEGAL GROUP
11         100 Pearl Street
           14th Floor
12         Hartford, Connecticut 06103
           jmw@randazza.com
13          (702) 420-2001

14
     ALSO PRESENT:
15        Joel Raguso - Videographer

16

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 1        A.     Infowars Health, LLC essentially acts as a
 2   pass-through entity .       Mr . Jones promotes products from a

 3   company called Youngevity in his programs.                 Infowars Health,

 4   LLC then receives the proceeds or its share of the sales that

 5   Youngevity does .      They manufacture and dropship their -- their

 6   product.    So it's not something that Free Speech Systems
 7   inventories.

 8                     And then, those payments from Infowars Health,

 9   LLC are swept into accounts controlled by Free Speech Systems.

10        Q.     And does Free Speech Systems have a contract with
11   Youngevity?

12        A.     I have no personal knowledge of it if Free Speech

13   or no knowledge of a contract with Free Speech Systems and
14   Youngevity.     It would be with Alex Jones directly or

15   Infowars Health, LLC .

16        Q.     And that arrangement with Youngevity whereby
17   Alex Jones promotes Youngevity products and then receives

18   revenue as a result of sales continues today, correct?
19

20
21        Q.     When did that arrangement begin through Infowars

22   Health, LLC?

23        A.     From what the accountant told me, it was

24   approximately 2013 that Infowars Health, LLC started paying

25   Free Speech Systems .


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 1                              Before that, the accounts were not separate, and

 2      I don't know approximately what period Youngevity revenue

 3      started coming to Free Speech Systems.
 4                              But approximately 2013, revenue started coming

 5      in from Infowars Health, LLC .

 6             Q.      Prior to that, payments made pursuing to Mr. Jones's
 7      agreement with Youngevity were made directly to Free Speech

 8      Systems, correct?

 9             A.      That's how I understood the conversation with the

10      CPA.    Yes.
11

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16             Q.      Okay .    What is the nature of Free Speech Systems'

17      relationship with Infowars, LLC?

18             A.      It has none.        Infowars, LLC is essentially a
19      nonfunctional entity.

20             Q.      Has it ever been functional?

21             A.      It has not.

22             Q.      What is Free Speech Systems' relationship with

23      Prison Planet TV, LLC?

24             A.      Prison Planet TV, LLC was set up to basically collect

25      payments, subscription payments, from the Prison Planet TV


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                                        June 24, 2021

 1      NO. X06-UWY-CV-18-6046436S                   SUPERIOR COURT

 1      ERICA LAFFERTY, ET AL,                       COMPLEX LITIGATION DOCKET

 1      vs.                                          AT WATERBURY

 1      ALEX EMRIC JONES, ET AL,                     JUNE 24, 2021

 1

 1      NO. X-06- UWY-CVlS-6046437-S                 SUPERIOR COURT

 1      WILLIAM SHERLACH,                            COMPLEX LITIGATION DOCKET

 1      vs.                                          AT WATERBURY

 1      ALEX EMRIC JONES, ET AL.                     JUNE 24, 2021

 1

 1      NO. X06-UWY-CV-18-6046438S                   SUPERIOR COURT

 1      WILLIAM SHERLACH, ET AL.,                    COMPLEX LITIGATION DOCKET

 1      vs.                                          AT WATERBURY

 1      ALEX EMRIC JONES, ET AL.           JUNE 24, 2021
15                         REPORTER'S CERTIFICATION

16                         DEPOSITION OF MICHAEL ZIMMERMANN

17                                     JUNE 24, 2021

18

19            I, Rosalind Dennis, Notary in and for the State of Texas,

20      hereby certify to the following:

21            That the witness, MICHAEL ZIMMERMANN, was duly sworn by

22      the officer and that the transcript of the oral deposition is a

23      true record of the testimony given by the witness;

24            That the original deposition was delivered to Mr. Mattei.

25            That the amount of time used by each party at the


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                                        June 24, 2021

 1      deposition is as follows:

 2      MR. MATTEI           ... .. 05 HOUR(S): 23 MINUTE(S)
        MR . WOLMAN          ..... 00 HOUR(S): 26 MINUTE(S)
 3

 4            That pursuant to information given to the deposition

 5      officer at the time said testimony was taken, the following

 6       includes counsel for all parties of record:

 7      Mr. Mattei                               Attorney for the Plaintiff.

 8      Mr. Wolman                               Attorney for the Defendant.

 9             I further certify that I am neither counsel for, related

10      to, nor employed by any of the parties or attorneys in the

11      action in which this proceeding was taken, and further that I

12      am not financially or otherwise interested in the outcome of

13       the action.

14             Certified to by me this 12th day of July, 2021.

15

16

17                                      ROSALIND DENNIS
                                        Notary in and for the
18                                      State of Texas
                                        Notary:   129704774
19                                      My Commission Expires: 10/8/2022
                                        US LEGAL SUPPORT
20                                      8144 Walnut Hill Lane
                                        Suite 120
21                                      Dallas, Texas 75231
                                        214-741-6001
22                                      214-741-6821 (FAX)
                                        Firm Registration No. 343
23

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